     Case 1-23-43643-jmm           Doc 108     Filed 03/06/24     Entered 03/06/24 15:15:38




Elyssa S. Kates                                                       Hearing Date and Time:
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


 In re:                                             Case No. 23-43643 (JMM)

 SHOWFIELDS, INC., et al.,                          Chapter 11

                            Debtors.                (Jointly Administered)



                                                   Joinder

          Creditor Pacific Market International, LLC joins the United States Trustee’s (I) Motion for

Order Converting Chapter 11 Cases To Chapter 7 Cases and (II) Objection to Debtors’ Motion to

Dismiss (Dkt. 102).
   Case 1-23-43643-jmm   Doc 108   Filed 03/06/24   Entered 03/06/24 15:15:38




Dated: March 6, 2024               Respectfully submitted,

                                   Baker & Hostetler LLP
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